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                           EXHIBIT 22
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 From:           William C. McCorriston
 To:             Lowell, Abbe
 Date:           Wednesday, January 6, 2021 4:43:04 PM
 Attachments:    Gmail - Abbe Lowell"s ethical conflicts_Redacted.pdf



 Abbe,

 Nickie has received unsolicited emails from a self-described “whistleblower” which, mildly put,
 are disturbing. Do you have time after 1:30 p.m. (HST) to discuss this matter with David and
 me.

 Nickie has retained, at my suggestion, independent counsel to advise her as I am co-counsel
 with you. They have given me permission to send the whistleblower communications
 herewith to you and discuss them with you. Also, if you recorded our (Nickie, you, and me)
 conversation during our video chat I would appreciate a copy. Let me know your availability.

 Mac
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